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November 02, 2024

Title of Work:

Completion/Publication

Egyptian Queen Of The Leopards

Year of Completion

Author

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Jan Patrik Krasny r

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